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 8                             UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11

12 EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR
13                Plaintiff, Counter-defendant,
14                v.                                  CERTIFICATE OF SERVICE
15 APPLE INC.,

16                Defendant, Counterclaimant.         Judge: Hon. Yvonne Gonzalez Rogers
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     CERTIFICATE OF SERVICE                                          CASE NO 4:20-CV-05640-YGR
      Case 4:20-cv-05640-YGR Document 678-2 Filed 05/15/21 Page 2 of 2




 1 I, Alexander P. Sanyshyn, declare as follows:

 2          I am an attorney at the law firm of Shearman & Sterling LLP, counsel to non-party Sony

 3 Interactive Entertainment LLC in connection with this litigation. I am a member in good standing

 4 of the Bars of the States of New York and California, and a member of the Bar of this Court.

 5          On May 15, 2021, I caused to be served via electronic transmission, on counsel for

 6 plaintiff Epic Games, Inc. (“Epic”) and defendant Apple, Inc., an unredacted version of the exhibit

 7 to the Declaration of Don Sechler in support of Epic’s administrative motion to seal portions of

 8 PX-2456.

 9          I declare under penalty of perjury under the laws of the United States that the foregoing is

10 true and correct and that this Declaration was executed on May 15, 2021, at Oakland, California.

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12                                                               /s/ Alexander P. Sanyshyn

13                                                               Alexander P. Sanyshyn

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     CERTIFICATE OF SERVICE.                         2                     CASE NO. 4:20-CV-05640-YGR
